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AO 440 (Rev. 05/00) Summons in a Civil Action



                                       UNITED STATES DISTRICT COURT
                                                    NORTHERN DISTRICT OF ILLINOIS



                                                                           SUMMONS IN A CIVIL CASE
ALICE F.

                                                                 CASE NUMBER:       17-cv-3710
                                V.                               ASSIGNED JUDGE:
                                                                                    John Z. Lee
 HEALTH CARE SERVICE CORPORATION,                                DESIGNATED
 d/b/a BLUE CROSS BLUE SHIELD OF                                 MAGISTRATE JUDGE: Sidney I. Schenkier
 ILLINOIS


                    TO: (Name and address of Defendant)
       Health Care Service Corporation
       d/b/a Blue Cross Blue Shield of Illinois
       300 E. Randolph St.
       Chicago, IL 60601


          YOU ARE HEREBY SUMMONED and required to serve upon PLAINTIFF’S ATTORNEY (name and address)

                 Mark D. DeBofsky
                 DeBofsky, Sherman & Casciari, P.C.
                 200 West Madison, Suite 2670
                 Chicago, Illinois 60606


                                                                               21
an answer to the complaint which is herewith served upon you,                                days after service of this
summons upon you, exclusive of the day of service. If you fail to do so, judgment by default will be taken against you for
the relief demanded in the complaint. You must also file your answer with the Clerk of this Court within a reasonable
period of time after service.




     THOMAS G. BRUTON, CLERK

                                                                                    May 17, 2017
     (By) DEPUTY CLERK                                                              DATE
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